Case 8:14-cr-00379-CEH-TGW          Document 686       Filed 01/03/25     Page 1 of 9 PageID 6802




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                                  CASE NO: 8:14-cr-379-CEH-TGW

  JUAN RODRIGUEZ ACOSTA


                                             ORDER

          This matter comes before the Court on Defendant Juan Rodriguez Acosta’s

  Motion for Compassionate Release (Doc. 683). 1 Proceeding pro se, Rodriguez Acosta

  requests compassionate release because of his advanced age, chronical medical

  conditions, and other reasons. The Government has responded in opposition (Doc.

  685).




  1
    Acosta has also filed a motion for a sentence reduction pursuant to the retroactive
  application of Amendment 821 of the Sentencing Guidelines. Doc. 678. This Order does not
  resolve the Amendment 821 motion, which remains pending.
          An Administrative Order issued by former Chief Judge Timothy Corrigan set forth a
  collaborative procedure for determining sentenced individuals’ eligibility for retroactive relief
  under Amendment 821 in the Middle District of Florida. Pursuant to the Administrative
  Order, the Office of Probation has been directed to prepare a memorandum regarding all
  potentially qualified individuals’ eligibility. The memorandum will be sent to the Court and
  to the Office of the Federal Defender, which will then be appointed to this action for the
  limited purpose of filing a notice or motion regarding the sentenced individual’s eligibility for
  resentencing. Ultimately, the Court will determine whether an individual is eligible for
  resentencing.
          Due to the large volume of potentially eligible individuals, this procedure remains
  ongoing. The Court has not yet received a memorandum from the Office of Probation
  regarding Acosta’s eligibility. Accordingly, the Court cannot make a determination regarding
  Acosta’s eligibility for relief. Upon receipt of the memorandum and in due course, the Court
  will take action pursuant to the procedure set forth in the Administrative Order.
Case 8:14-cr-00379-CEH-TGW       Document 686     Filed 01/03/25   Page 2 of 9 PageID 6803




          Upon review and full consideration, and being duly advised in the premises, the

  Court finds that the motion is due to be denied.

     I.      Background

          Juan Rodriguez Acosta was arrested in August 2014, at the age of 65, and

  indicted for conspiracy to possess and possession with intent to distribute five

  kilograms or more of cocaine while on board a vessel subject to the jurisdiction of the

  United States. Docs. 440, 581. He was accused of being the captain of a ship that was

  carrying approximately 42 million dollars’ worth of cocaine. Id. After a jury found

  Rodriguez Acosta guilty of both charges, he was sentenced to a term of 235 months’

  imprisonment. Doc. 464.        The sentencing range provided by the Sentencing

  Guidelines called for 292 to 365 months’ imprisonment, but the Court imposed a

  sentence below the Guidelines range because of Rodriguez Acosta’s age and medical

  conditions. Doc. 465, citing 18 U.S.C. §§ 3553(a)(1), 3553(a)(2)(D).

          Rodriguez Acosta filed his first motion for compassionate release in March

  2020. Doc. 608. As reasons his sentence should be reduced, he cited his age of 71, his

  medical conditions related to aging, and the amount of time he had served. Id. The

  Court denied his motion on November 1, 2021, finding that he had failed to exhaust

  his administrative remedies, that he had not established an extraordinary and

  compelling reason that warranted compassionate release, and that the sentencing

  factors under 18 U.S.C. § 3553(a) weighed against release. Doc. 638.

          Rodriguez Acosta now moves for compassionate release again. Doc. 683. He

  explains that he is 76 years old, has served more than ten years in prison, and is


                                             2
Case 8:14-cr-00379-CEH-TGW         Document 686        Filed 01/03/25     Page 3 of 9 PageID 6804




  suffering from a number of medical conditions that demonstrate a decline in physical

  health due to the aging process. Id. at 5. In addition, Rodriguez Acosta cites the fact

  that he is ineligible for home confinement or a halfway house due to his immigration

  status, and the disparity between his sentence and that of his co-defendants who

  pleaded guilty. Id. at 6-7. With respect to the § 3553(a) factors, he contends that he

  has been a model prisoner whom the Bureau of Prisons designates as minimum risk,

  and he is a first-time offender with a non-violent history. Id. at 8-13. Rodriguez Acosta

  provides lengthy medical records and other prison records in support of his motion.

  Doc. 683-1. He also provides documentation that the warden of his prison facility,

  Federal Medical Center Rochester, denied his request for compassionate release. Id.

         The Government opposes Rodriguez Acosta’s motion. Doc. 685.                         The

  Government argues that he has not established the existence of an extraordinary and

  compelling reason that warrants compassionate release, because he had medical issues

  at the time he committed the offense, and he has not shown that his health is

  significantly deteriorating. Id. at 2, 7. In the alternative, the Government contends

  that the § 3553(a) factors preclude relief. Id. at 8. The instant offense involved a

  particularly large amount of cocaine, it was not Rodriguez Acosta’s first drug run,2 he

  failed to take responsibility by pleading guilty, and the Court already imposed a below-




  2
    The Pre-Sentence Investigation Report indicates Acosta and his codefendants had
  participated in another drug run on the same ship a few months before his arrest for the instant
  offense. Doc. 440 at 5.


                                                 3
Case 8:14-cr-00379-CEH-TGW        Document 686       Filed 01/03/25    Page 4 of 9 PageID 6805




  Guidelines sentence. Id. The Government does not dispute that Rodriguez Acosta has

  exhausted his administrative remedies. Id. at 5.

     II.      Legal Standard

           Pursuant to 18 U.S.C. § 3582(b), a judgment of conviction that includes a

  sentence of imprisonment “constitutes a final judgment and may not be modified by a

  district court except in limited circumstances.” Dillon v. United States, 560 U.S. 817,

  824 (2010) (internal quotations omitted). Those limited circumstances are provided

  under 18 U.S.C. § 3582(c), which states, in relevant part:

           The court may not modify a term of imprisonment once it has been imposed
           except that—

           (1) in any case—

                (A) the court, upon motion of the Director of the Bureau of Prisons,
                or upon motion of the defendant after the defendant has fully
                exhausted all administrative rights to appeal a failure of the Bureau
                of Prisons to bring a motion on the defendant’s behalf or the lapse
                of 30 days from the receipt of such a request by the warden of the
                defendant's facility, whichever is earlier, may reduce the term of
                imprisonment (and may impose a term of probation or supervised
                release with or without conditions that does not exceed the
                unserved portion of the original term of imprisonment), after
                considering the factors set forth in section 3553(a) to the extent that
                they are applicable, if it finds that—

                       (i) extraordinary and compelling reasons warrant such a
                       reduction; or

                       (ii) the defendant is at least 70 years of age, has served at
                       least 30 years in prison, pursuant to a sentence imposed
                       under section 3559(c), for the offense or offenses for which
                       the defendant is currently imprisoned, and a determination
                       has been made by the Director of the Bureau of Prisons that
                       the defendant is not a danger to the safety of any other



                                               4
Case 8:14-cr-00379-CEH-TGW          Document 686        Filed 01/03/25     Page 5 of 9 PageID 6806




                        person or the community, as provided under section
                        3142(g);

                 and that such a reduction is consistent with applicable policy
                 statements issued by the Sentencing Commission[.]

  18 U.S.C. § 3582(c).

         “Extraordinary and compelling reasons” that warrant a sentence reduction

  under § 3582(c)(1)(A) are exclusively defined by the United States Sentencing

  Guidelines’ policy statement in U.S.S.G. § 1B1.13. United States v. Bryant, 996 F.3d

  1243, 1262 (11th Cir. 2021). Pursuant to an amendment that became effective on

  November 1, 2023, § 1B1.13(b) lists the following extraordinary and compelling

  reasons:

         (1) Medical circumstances
         (2) Age
         (3) Family circumstances
         (4) Victim of abuse
         (5) Other reasons
         (6) Unusually long sentence.

  U.S.S.G. § 1B1.13(b). Each of these reasons is further defined in the Guidelines’

  policy statement. The policy statement definitions are binding on courts in this

  Circuit. Bryant, 996 F.3d at 1262.

         If the Court finds that one of the reasons listed in 18 U.S.C. § 3582(c)(1)(A) or

  § 2582(c)(2) is present, it must consider all applicable factors listed in 18 U.S.C. §

  3553(a) before it may reduce a defendant’s sentence. 3 See § 3582(c)(1)(A); United States


  3
   These factors include: (1) the nature and circumstances of the offense and the history and
  characteristics of the defendant; (2) the need for the sentence imposed to reflect the seriousness
  of the offense, to promote respect for the law, and to provide just punishment for the offense;


                                                  5
Case 8:14-cr-00379-CEH-TGW         Document 686       Filed 01/03/25    Page 6 of 9 PageID 6807




  v. Giron, 15 F.4th 1343, 1347-48 (11th Cir. 2021) (“[A] district court need not analyze

  the § 3553(a) factors if it finds either that no extraordinary and compelling reason exists

  or that the defendant is a danger to the public.”).

     III.   Discussion

         Rodriguez Acosta primarily argues that his medical conditions, his age, and the

  physical decline in his health due to his age constitute an extraordinary and compelling

  reason for compassionate release. The Guidelines’ policy statement identifies age as

  an extraordinary and compelling reason if the defendant is at least 65 years old, has

  served at least ten years or 75 percent of his sentence, whichever is less, and is

  experiencing a serious deterioration in physical or mental health because of the aging

  process. U.S.S.G. § 1B1.13(b)(2). Likewise, a medical condition may constitute an

  extraordinary and compelling reason where, inter alia, the defendant is experiencing

  deteriorating physical or mental health because of the aging process that substantially

  diminishes his ability to provide self-care within the prison environment. Id. §

  1B1.13(b)(1)(B)(iii).




  to afford adequate deterrence to criminal conduct; to protect the public from further crimes
  of the defendant; and to provide the defendant with needed educational or vocational training,
  medical care, or other correctional treatment in the most effective manner; (3) the kinds of
  sentences available; (4) the kinds of sentence and the sentencing range established for the
  applicable category of offense committed by the applicable category of defendant as set forth
  in the guidelines; (5) any pertinent policy statement issued by the Sentencing Commission;
  (6) the need to avoid unwarranted sentence disparities among defendants with similar records
  who have been found guilty of similar conduct; and (7) the need to provide restitution to any
  victims of the offense. 18 U.S.C. § 3553(a).


                                                6
Case 8:14-cr-00379-CEH-TGW        Document 686     Filed 01/03/25   Page 7 of 9 PageID 6808




         Rodriguez Acosta is 76 years old and has served more than ten years of his

  sentence. It is undisputed that he suffers from a number of medical conditions, some

  of which are likely attributable to the aging process. Moreover, his medical records

  demonstrate that at least some deterioration in his physical health has occurred while

  he has been in prison. The pre-sentence investigation report indicated that he suffered

  from diabetes, hypertension, an enlarged heart, a leg injury, badly swollen feet, kidney

  issues, and a thyroid problem. Doc. 440 at 9-10. Eight years later, Rodriguez Acosta

  continues to suffer from the same chronic conditions, see Doc. 683-1 at 22-23, 30, but

  it appears that he has experienced at least some deterioration in health. For example,

  he was transferred to a medical prison in July 2022 due to problems with ambulation,

  and he currently uses a wheeled walker and a cane. See id. at 25, 43, 51, 168. In recent

  months he required enhanced care to treat cellulitis in his leg, and he was treated for

  degenerative arthritis in his left hand. Id. at 40, 190.      He has also developed

  thrombocytopenia in the past year. Id. at 30.

         Nonetheless, Rodriguez Acosta’s medical status likely does not qualify under

  either of the extraordinary and compelling reasons for compassionate release related

  to age. The records indicate that he remains largely independent in conducting his

  activities of daily living. Id. at 82.   As a result, he has not established a medical

  circumstance in which the aging process diminishes a defendant’s ability to provide

  self-care in prison. See U.S.S.G. § 1B1.13(b)(1)(B)(iii).         With respect to the

  extraordinary and compelling reason of age itself, it is not apparent that the

  deterioration in Rodriguez Acosta’s physical health is severe enough to qualify as


                                              7
Case 8:14-cr-00379-CEH-TGW         Document 686       Filed 01/03/25     Page 8 of 9 PageID 6809




  “serious” within the meaning of U.S.S.G. § 1B1.13(b)(2), given that he was already in

  poor health at the time of sentencing.

         Even if Rodriguez Acosta had established that his age was an extraordinary and

  compelling reason for compassionate release, however, the Court finds that the §

  3553(a) factors continue not to weigh in favor of release. See Doc. 638 (denying

  previous motion for compassionate release, in part because of § 3553(a) factors). 4 The

  Court took Rodriguez Acosta’s age and medical conditions into account when it

  sentenced him well below the Guidelines range, while acknowledging that the

  sentence it was imposing might, due to his age, result in incarceration for the rest of

  his life. See Doc. 581 at 16 (“It’s, of course, not my intent to impose a life sentence

  because this crime doesn’t warrant a life sentence; but given your age, you might very

  well be in custody for the rest of your life.”). At this point, Rodriguez Acosta has

  served only half of the imposed sentence. Further, the offense was particularly serious,

  see id. at 15 (describing the quantity of drugs involved as “astronomical”), as was

  Rodriguez Acosta’s role in it. Yet, despite Rodriguez Acosta’s role as the captain of

  the ship, he received the same sentence as the three co-defendants who were tried with

  him. See Docs. 456, 459, 467 (imposing sentences of 235 months). 5 The Court


  4
    Acosta also contends that his ineligibility for early release benefits due to his immigration
  status contributes to an extraordinary and compelling reason that warrants compassionate
  release. Doc. 683 at 6. Under the specific circumstances of this case, the Court does not find
  that this factor, alone or in combination with others, constitutes an extraordinary and
  compelling reason. Even if it did, however, the Court’s finding regarding the § 3553(a) factors
  would preclude compassionate release.
  5
    Acosta argues that there is an unwarranted disparity between his sentence and that of his
  other codefendants, who received sentences of 63 months. See Doc. 683 at 7; Docs. 407, 411,


                                                8
Case 8:14-cr-00379-CEH-TGW       Document 686      Filed 01/03/25    Page 9 of 9 PageID 6810




  acknowledges Rodriguez Acosta’s statement that he has participated in every possible

  educational program in prison and has not incurred any incident reports, Doc. 683 at

  9, and it encourages him to continue his positive conduct. In all, however, the §

  3553(a) factors do not support a reduction in his sentence at this time.

        Accordingly, it is ORDERED:

            1. Defendant Juan Rodriguez Acosta’s Motion for Compassionate Release

            (Doc. 683) is DENIED.

        DONE and ORDERED in Tampa, Florida on January 3, 2025.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties




  415, 423. However, each of those defendants pleaded guilty and the Government moved to
  recognize his substantial assistance to the Government pursuant to Fed. R. Crim. P. 5K1.1.
  Docs. 406, 410, 414, and 422. Acosta’s circumstances are more akin to the codefendants who
  went to trial, did not cooperate, and received the same sentence that he did. His argument
  regarding a sentencing disparity is therefore unavailing.


                                              9
